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Defendant filed a motion pursuant to Title 28, United States Code, Section 2255 pro se which was denied on February 28, 2019.
Therefore, Defendant’s motion for appointment of counsel is denied a moot . The Clerk's Office is directed to mail a copy of this order
to the pro se petitioner.




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